FILED
CHARLOTTE, NC

IN THE UNITED STATES DISTRICT COURT APR 11 2025
FOR THE WESTERN DISTRICT OF NORTH CAROLINA yg pistricr court
CHARLOTTE DIVISION WESTERN DISTRICT OF NC
UNITED STATES OF AMERICA ) ;

) Case No. 3 g5- MJ- AC
v. )
)
BAYRON ESTEBAN VILLATORO-MANZANARES _ )
)

AFFIDAVIT

I, Joshua Grout, a Special Agent of the Department of Homeland Security, Immigration
and Customs Enforcement (ICE), Homeland Security Investigations (HSI), being duly sworn,

state as follows:

1. Iam presently a Special Agent of the Department of Homeland Security, Immigration
and Customs Enforcement (ICE), Homeland Security Investigations (HSI) and serve as a sworn
law enforcement officer within the meaning of Section 2510(7) of Title 18, United States Code. In
that capacity, I am empowered to conduct investigations pursuant Section 2516(a) of Title 18
United States Code and to make arrests for offenses enumerated in Titles 8, 18, 19, 21, 31 United
States Code and other related offenses. During my tenure as a Special Agent, I have completed
approximately 1080 hours of instruction at the Federal Law Enforcement Training Center in
Glynco, Georgia (FLETC). Prior to my tenure as a Special Agent, I was a Police Officer with the
Charlotte Mecklenburg Police Department (CMPD). During my time at CMPD I worked as a
patrol officer and member of the Gang Unit investigating North Carolina state and federal
violations of the law. I completed approximately 1220 hours of basic and advanced law
enforcement training covering various topics. I have drafted and or executed over 50 state and

federal search warrants to include numerous warrants for residences, cellular phones, and social

1

Case 3:25-cr-00093-MOC-DCK Documenti-1 Filed 04/11/25 Pagelof5
media accounts. I have been the affiant on three title II] affidavits and the case agent of a
racketeering influencing corrupt organizations (RICO) and violent crime in aid of racketeering
(VICAR) case. I have made over 500 arrests for various violations of state and federal crimes. I
am a certified digital forensics examiner for cell phones and windows computers through the
Defense Cyber Investigative Training Academy. Prior to my time as a Police Officer, I was a
Counterintelligence Special Agent in the United States Army. During my time as a
Counterintelligence Agent, I was tasked with investigating violations of the Uniformed Code of
Military Justice and Title 18 United States Code involving national security crimes. I attended over
1200 hours of basic and advanced training covering various topics related to conducting national
security/ terrorism and cyber investigations. I am currently assigned to the HSI Violent Gang Task
Force, with primary investigative responsibilities to investigate, disrupt, and dismantle
transnational gangs, transnational criminal organizations, and violent crime within and throughout
the Western District of North Carolina.

2. This Affidavit is presented in support of a Criminal Complaint charging Bayron
Esteban Villatoro-Manzanares (Villatoro-Manzanares) with violating Title 8, United States Code,
Section 1326 (illegal reentry by an alien).

3. I respectfully assert that this Affidavit contains facts sufficient to support a probable
cause finding to support the issuance of the Criminal Complaint. The information contained in
this Affidavit is based on my personal participation in the investigation of the case and from
information provided to me by other Special Agents and Task Force Officers, as well as other
federal, state, and local law enforcement officers. Since this Affidavit is being submitted for the
limited purpose of establishing probable cause for the issuance of a Criminal Complaint, I have

not included every fact known to me concerning this investigation. I have set forth only those

2

Case 3:25-cr-00093-MOC-DCK Documenti-1 Filed 04/11/25 Page2of5
facts which I believe are necessary to establish the requisite foundation for probable cause. These

facts include the following:

a.

That, on April 10, 2025, Villatoro-Manzanares was arrested by the Charlotte
Mecklenburg Police Department after the execution of a search warrant at 8800 Nations
Ford Road, Charlotte, North Carolina, for narcotics sales being conducted at the
residence. Villatoro-Manzanares was located inside of the residence and charged with
Possession with Intent to distribute Marijuana, Possession of Firearm by Felon,
Trafficking in Marijuana, Maintaining a Dwelling for Distribution of Controlled
Substances, and Possession of Marijuana Paraphernalia. He was then transported to the
Mecklenburg County Intake Center in North Carolina. Villatoro-Manzanares was
identified by FBI agents and CMPD officers, and he was linked to FBI Number
482924TE7, State Identification Numbers NC1770973A and $C02348391, Immigration
A-file Number AXXXXXXXX, and a secondary A-file number AXXXXXXXX. Immigration
records indicated that he had been removed from the United States without record of a
legal re-entry.
That your Affiant conducted criminal justice inquiries and database searches, reviewed
Immigration A-files AXXXXXXXX and AXXXXXXXX relating to Villatoro-Manzanares, and
discovered that:
i. his name is Bayron Esteban Villatoro-Manzanares, per a Honduran birth certificate in
his possession, his A-file, and his own statements;
ii. he is citizen of Honduras by virtue of birth in Honduras, on January 26, 1998, pera

Honduran birth certificate and his own statements;

3

Case 3:25-cr-00093-MOC-DCK Documenti-1 Filed 04/11/25 Page3of5
iii. he was assigned FBI number 482924TE7, State Identification Numbers NC1770973A
and §C02348391, Immigration A-file Number AXXXXXXXX, and a secondary A-file
number 4078915010 under the name Bayron Esteban Villatoro-Manzanares;

iv. On March 18, 2003, he was encountered in Columbus, New Mexico, by Border
Patrol, and determined to be unlawfully present in the United States, and transported
to the Columbus New Mexico Border Patrol Station for processing; he was issued a
Notice to Appear and released;

v. On August 14, 2003, an immigration judge ordered his removal in absentia under
under secondary A-file number 4078915010;

vi. On December 18, 2014, he was encountered and arrested by the Charlotte

Mecklenburg Police Department. He was transported to the Mecklenburg County Jail
and encountered by the 287(g) program there. He was released because of his
Deferral Action for Childhood Arrivals (DACA) eligibility at that time;

vii. On February 14, 2015, he was encountered and arrested by the Charlotte
Mecklenburg Police Department. He was transported to the Mecklenburg County
Sheriff’s Office and was encountered by 287(g). He was released because he met
DACA eligibility;

viii. On July 5, 2018, he filed for DACA under A# AXXXXXXXX. He was approved for
DACA on August 6, 2018, but it was terminated on November 27, 2018;

ix. On July 11, 2018, he was encountered by the 287(g) program in Charleston, South
Carolina after being arrested for felony drug possession charges;

x. On April 29, 2019, he was removed from the United States pursuant to a removal

order issued by immigration personnel in Charleston, South Carolina;

4

Case 3:25-cr-00093-MOC-DCK Documenti-1 Filed 04/11/25 Page4of5
xi. On June 23, 2022, he was arrested by the Concord Police Department, and the
Cabarrus County Sheriffs Office’s 287(g) program encountered him. On June 24,
2022, he was served with agency form I-871 (Notice to Re-instate a Prior Order of
Removal/Deportation), I-205 (Warrant of Removal/Deportation), and 1-247
(Immigration Detainer); and

xii. On January 13, 2023, pursuant to an immigration order, he was removed from the
United States back to Honduras.

c. That, on April 10, 2025, after a thorough review of the A-file, your Affiant conducted
record checks of immigration indices and was unable to locate any record that Villatoro-
Manzanares was granted permission by the Attorney General of the United States or the
Secretary of the Department of Homeland Security to apply for admission to the United
States after deportation/removal.

CONCLUSION

Based upon my training and experience and the facts of this investigation, I respectfully
request the issuance of a Criminal Complaint against Bayron Esteban Villatoro-Manzanares.

Respectfully submitted,

Z Joshua Grout, Special Agent
Immigration Customs Enforcement
Homeland Security Investigations

This Affidavit was reviewed by AUSA Kenneth Smith
Sworn to.and subscribed before me this 11th day of April 2025,

Perorable Susan C. Rotitigfiez .

nited States Magistrate Judge

5

Case 3:25-cr-00093-MOC-DCK Documenti-1 Filed 04/11/25 Page5of5
